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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

NIKE, INC.,
                                                       Case No. 21-cv-06159
                Plaintiff,
                                                       Judge Sara L. Ellis
v.
                                                       Magistrate Judge Gabriel A. Fuentes
XIAOTANGGUIO STORE, et al.,

                Defendants.


                             DECLARATION OF JUSTIN R. GAUDIO

        I, Justin R. Gaudio, of the City of Chicago, in the State of Illinois, declare as follows:

1. I am an attorney at law, duly admitted to practice before the Courts of the State of Illinois

     and the United States District Court for the Northern District of Illinois. I am one of the

     attorneys for Plaintiff Nike, Inc. (“Plaintiff” or “Nike”). Except as otherwise expressly stated

     to the contrary, I have personal knowledge of the following facts and, if called as a witness, I

     could and would competently testify as follows:

2. I hereby certify that the Defaulting Defendants (as defined in the accompanying

     Memorandum) have failed to answer or otherwise plead in this action within the allotted time

     in violation of Federal Rule of Civil Procedure 12(a)(1)(A).

3. My office investigated the infringing activities of the Defaulting Defendants, including

     attempting to identify the owner of each associated e-commerce store operating under the

     Seller Aliases and its contact information. Our investigation confirmed that the Defaulting

     Defendants are primarily domiciled in China. As such, I am informed and believe that the

     Defaulting Defendants are not active-duty members of the U.S. armed forces.




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4. Exhibit 1 is an accurate copy of unpublished decisions cited in the corresponding

   Memorandum in Support of Nike’s Motion for Entry of Default and Default Judgment.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on this the 28th day of January 2022 at Chicago, Illinois.


                                             /s/ Justin R. Gaudio
                                             Justin R. Gaudio
                                             Counsel for Plaintiff Nike, Inc.




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